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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO



  Civil Action No. 15-cv-00541-MJW

  COCONA, INC., a Delaware corporation,

         Plaintiff,

  v.

  SHEEX, INC., a Delaware corporation,

         Defendant.



          DEFENDANT SHEEX, INC.’S REPLY TO PLAINTIFF’S OPPOSITION TO
                        SHEEX’S MOTION TO DISMISS
                 FOR LACK OF SUBJECT MATTER JURISDICTION



          Defendant, Sheex, Inc. (“Sheex”) respectfully submits this Reply to Plaintiff Cocona

   Inc.’s (“Cocona”) Opposition (D.I. 12) (“Opp.”) to Defendant’s Motion to Dismiss Plaintiff’s

   Complaint for Declaratory Judgment (D.I. 9) (“Mot.”).

                                       I.      INTRODUCTION

          Satisfied by Cocona’s representations that it does not make or sell sheets—the only type

   of product that could possibly infringe the patents-in-suit—Sheex has promised not to sue

   Cocona for direct or indirect infringement of Sheex’s U.S. Patent Nos. 8,403,580 (“the ’580

   patent”) and 8,566,982 (“the ’982 patent”), for all current and past products. Cocona agrees that

   it does not make or sell infringing sheets products, and yet objects that Sheex’s covenant not to

   sue (“Covenant”) does not protect Cocona. Although Cocona attempts to confuse the issue by

   invoking theoretical threats to third parties and hypothetical future products, the only relevant

   question is whether an actual controversy over the ’580 and ’982 patents now exists between

   Cocona and Sheex. The Covenant fully protects Cocona from any imminent threat of litigation

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   by Sheex, including on an indirect infringement theory based on Cocona’s licensees. The

   Covenant thus extinguishes any actual case or controversy between Cocona and Sheex, and

   divests this Court of subject matter jurisdiction. Under well-established law, the Covenant need

   not extend to third parties or cover future products. This Court need not—and, lacking

   jurisdiction, cannot—provide the advisory opinion Cocona apparently seeks that would inoculate

   it against conjectural future acts of infringement by Cocona’s customers or partners.

                                         II.       ARGUMENT
   A.     The Covenant Is Sufficient to Eliminate Any Case or Controversy Between the
          Parties and Divest this Court of Subject Matter Jurisdiction.
          The Federal Circuit has consistently held in a line of cases beginning with Super Sack

   Manufacturing Corp. v. Chase Packaging Corp., 57 F.3d 1054 (Fed. Cir. 1995) that a covenant

   not to sue like the one tendered by Sheex eliminates any case or controversy between the parties

   to a patent infringement case, and divests a district court of subject matter jurisdiction. Cocona

   argues that Sheex’s Covenant is insufficient because it (1) is not tailored to Cocona’s role as a

   technology provider (Opp. at 4-6), (2) does not cover Cocona’s activities related to the

   promotion and production of potentially infringing products (id. at 6-8), and (3) does not protect

   Cocona’s partners and customers (id. at 8-9).

          Cocona’s arguments boil down to the same thing: Cocona does not make or sell an

   infringing product or, in fact, any product that could conceivably be considered infringing.

   Rather, Cocona licenses technology to third parties who could potentially use that technology to
   create an infringing product. But Sheex has promised not to sue Cocona for direct and indirect

   patent infringement. Mot. at 2. The Covenant therefore extends to current and past products

   made and sold by a third party as well, and there cannot exist a case or controversy between the

   parties. Moreover, under well-established case law, as well as the very purpose and scope of the

   Declaratory Judgment Act, there is no declaratory judgment jurisdiction on the basis of future

   products, or because customers or partners could be the target of a theoretical lawsuit.




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          1.      Cocona’s Concerns Regarding Future Products are Insufficient to Create a
                  Case or Controversy.
          Cocona attempts to distinguish Super Sack by arguing that Cocona is involved in “present

   activity” that may infringe on Sheex’s patent rights, purportedly unlike the defendant in Super

   Sack. Opp. at 6-7. Cocona states that it provides licensees with guidelines relating to bedding

   products, performs quality control, allows licensees to use its logo, and promotes the benefits of

   bedding products using its technology, actions which Cocona believes could constitute acts of

   indirect infringement. Id. at 7.

          Just as in Super Sack, however, Sheex’s promise not to sue “renders any past or present

   acts of infringement that [Cocona] may or may not have committed irrelevant to the question

   whether a justiciable controversy remains.” See Super Sack, 57 F.3d at 1060. And, just as in

   Super Sack, Cocona does not contend that its activities constitute “already taken meaningful

   preparatory steps” to develop a new product “that may later be said to infringe.” See id. at 1059-

   60. Rather, Cocona contends that its present licensing activities might lead to infringing

   products, produced by third parties, which are not yet commercially available, i.e., future

   products. As in Super Sack, this is “simply too speculative a basis for jurisdiction.” See id. at

   1060. The Federal Circuit has rejected precisely the argument Cocona makes. Amana

   Refrigeration, Inc. v. Quadlux, Inc., 172 F.3d 852, 855 (Fed. Cir. 1999) (“Amana argues that the

   Quadlux covenant did not remove Amana’s reasonable apprehension of being sued with regard

   to its new products ‘in the pipeline,’ but not advertised, manufactured, marketed, or sold before
   the filing date. However, an actual controversy cannot be based on a fear of litigation over

   future products.”).
          2.      Cocona’s Role as a Technology Provider Confirms Sheex’s Understanding
                  That Cocona Does Not, and Cannot, Currently Infringe the Patents-in-Suit.
          Cocona’s argument that it has a “reasonable apprehension” that its customers or affiliates

   may face an infringement suit for products incorporating Cocona’s technology similarly fails.

   Opp. at 8-9. In the cases cited by Cocona that involve a covenant not to sue, the relevant

   apprehension was that the customer or affiliate would face suit for infringing products that the


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   declaratory judgment plaintiff had made and sold to the customer (or, at the very least,

   infringing products produced for the plaintiff, in the case of a supplier). Because Cocona—by its

   own representation—does not make or sell an infringing product, it cannot reasonably have this

   apprehension. Cocona’s reliance on these cases is therefore misplaced. Any cases cited by

   Cocona that do not involve covenants not to sue are also inapposite. Here, Sheex’s Covenant

   erases any threat to Cocona.
                  a.      Any Controversy Between Sheex and Cocona is Disposed of by the
                          Covenant Not to Sue.
          In Arrowhead Industrial Water, Inc. v. Ecolochem, Inc., 846 F.2d 731 (Fed. Cir. 1988)

   and Grafon Corp. v. Hausermann, 602 F.2d 781 (7th Cir. 1979)—cases not involving covenants

   not to sue—the declaratory judgment plaintiff itself made a product or performed a service which

   the patent holder had intimated was infringing. Ecolochem, 846 F.2d at 733; Grafon, 602 F.2d at

   782. In each case, there was a pattern of activity by the patent holder indicating efforts to

   enforce the patent extra-judicially and a willingness to sue third parties. Ecolochem, 846 F.2d at

   733 (patent holder suing a third party, sending accusatory letters to the plaintiff and plaintiff’s

   customers, and professing a willingness to “protect its patent rights whenever appropriate”);

   Grafon, 602 F.2d at 784 (patent holder contacting plaintiff’s customers to say that plaintiff had

   no license and in one case stating that it would seek an injunction against plaintiff).

          In both cases, in order to determine whether the plaintiff had a reasonable apprehension
   that the defendant would soon bring an infringement suit against the plaintiff itself, the court

   considered the defendant’s threats to the plaintiff’s customers as part of an overall pattern of

   conduct ultimately targeting the plaintiff. See Ecolochem, 846 F.2d at 736 (citing Grafon, 602

   F.2d at 781). Here, however, there is no reasonable apprehension of an infringement suit against

   Cocona: the Covenant removes that possibility in its entirety. Ecolochem and Grafon do not

   stand for the proposition that Cocona’s fear of a lawsuit against its third party licensees and

   partners is, on its own, enough to create an actual controversy between Cocona and Sheex. The

   relevant controversy here is between Sheex and Cocona, not Sheex and third parties. Cf.


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   Intellectual Prop. Dev., Inc. v. TCI Cablevision of Cal., Inc., 248 F.3d 1333, 1341-42 (Fed. Cir.

   2001) (“A suit filed against a different party, even if [the declaratory judgment counterclaimant]

   could potentially be required to indemnify that party, is not a suit that [the counterclaimant] itself

   faces. Therefore, the district court correctly determined that it lacked jurisdiction despite [the

   counterclaimant’s] indemnity concerns.”).
                  b.      Cocona Cannot Have a Reasonable Apprehension of an Infringement
                          Suit Because it Does Not Make or Sell Infringing Products.
          In Janssen Pharmaceutica, N.V. v. Apotex, Inc., 540 F.3d 1353, 1359 (Fed. Cir. 2008)

   and Sunshine Kids Juvenile Products, LLC v. Indiana Mills & Manufacturing, Inc., No. C10–

   5697BHS, 2011 WL 862038 (W.D. Wash. Mar. 9, 2011), courts examined the applicability of

   covenants not to sue to third parties. In Sunshine Kids, the defendant had threatened to bring a

   trade dress infringement suit, before subsequently providing a covenant not to sue.1 2011 WL
   862038, at *2-3. The court noted that the covenant may have protected the plaintiff, but not its

   customers and suppliers—with respect to product components that the plaintiff made and sold to

   them (or, in the case of suppliers, for contributing to the plaintiff’s infringement). Id. at *4-5.

          In Janssen, the Federal Circuit used a similar line of reasoning in analyzing the reach of a

   covenant not to sue to affiliates, suppliers, and customers of a drug manufacturing company.

   Janssen, 540 F.3d at 1363. In finding that the covenant not to sue explicitly protected the

   relevant third parties, the Federal Circuit acknowledged that a declaratory judgment plaintiff

   might otherwise have been reasonably apprehensive that its customers might be exposed to

   liability had they used or sold the plaintiff’s allegedly infringing product. Id.

          Here, Cocona does not make or sell an infringing product. It need not, therefore, fear that

   its customers will be exposed to infringement liability for using infringing products

   manufactured or sold by Cocona. The apprehension that one’s customer might be sued on the

   basis of an infringing product that one has made and sold to the customer differs greatly from

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     Although Sunshine Kids involved trade dress rights, the court “analyze[d] whether the disputed
   covenant not to sue extinguishe[d] the controversy under case law involving patent
   infringement.” Sunshine Kids, 2011 WL 862038, at *2.
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   Cocona’s fear that its customers might utilize Cocona’s technology to subsequently produce an

   infringing product. That a third party might use a raw material supplied by Cocona—even a

   specialized one like Cocona’s 37.5® fiber—to make an infringing product does not create an

   actual controversy between Cocona and Sheex. This is entirely too speculative to be the basis of

   subject matter jurisdiction. Cf. Super Sack, 57 F.3d at 1060.

                    c.     Cocona’s Concerns Regarding Future Patents are Premature.

             Cocona objects that the Covenant does not cover pending related Sheex patents. Opp. at

   9-10. The Federal Circuit has been clear: the potential future existence of a patent “is wholly

   speculative and, therefore, cannot create a present controversy.” Amana Refrigeration, 172 F.3d

   at 856.
   B.        The Summary of Cocona’s Representations in the Covenant Is Supported by
             Statements Made by Cocona’s CEO and Sheex’s Reliance on These Statements Does
             not Violate Rule 408.
             Cocona contends that the statement in Sheex’s Covenant that “Cocona has represented to

   Sheex that it does not and has not made, had made, offered to sell, or sold performance sheets” is

   an unsupported characterization of Cocona’s position. Opp. at 3-4 (quoting Mot. at 2). Cocona

   also asserts that inclusion of this statement in Sheex’s Motion to Dismiss violates Federal Rule

   of Evidence 408. Id. These contentions are both false.

             The summary of Cocona’s position included in Sheex’s Covenant is well supported by

   the statements of Cocona’s CEO, Jeff Bowman, made in emails sent to Sheex personnel in late
   November and early Decemeber 2014.2 See Declaration of Cindy Dipietrantonio, ¶ 2, Exh. A
   (“Cocona does not make or sell knitted sheets. Neither are we involved in the design of those

   products. All we do is sell fiber, which our licensees blend with natural fibers and knit into yarn

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     The email from Jeff Bowman dated December 1, 2014, mentions a discussion between Jeff
   Bowman, Cindy Dipietrantonio (President of Sheex), and Michelle Brooke-Marciniak (Co-
   Founder and Co-CEO of Sheex) that had taken place the week before. Declaration of Cindy
   Dipietrantonio ¶ 3, Exh. B and ¶ 4. This discussion between representatives of Sheex and
   Cocona occurred after the filing of Sheex’s suit in Delaware, during the period in which Cocona
   claims that “[r]ather than respond to Cocona’s attempts to communicate, SHEEX remained silent
   for four months . . . .” (Opp. at 1).
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   and then make the yarn into sheets.”); id. ¶ 3, Exh. B (“Cocona does not make knitted sheets, we

   have no input into either the design or construction of the knitted sheets featuring 37.5®

   technology currently sold at Sleep Number (SN), and we were not involved in any way in the

   sale of that product to SN. . . . In reviewing Cocona’s website it does appear that Cocona is

   offering knitted sheets for sale even though we do not do so. That confusing language is being

   removed from Cocona’s website this week. I regret if that language caused you to mistakenly

   conclude that Cocona was designing, manufacturing, causing to be manufactured or offering to

   sell knitted sheets.”). These emails reflect discussions between businesspeople under no duty of

   confidentiality. It is the representations made in those discussions that are summarized in the

   Covenant, and offered to show lack of declaratory judgment jurisdiction only.

          Rule 408 only bars admission of statements made during settlement negotiations “to

   prove or disprove the validity or amount of a disputed claim or to impeach by a prior inconsistent

   statement or a contradiction.” Fed. R. Evid. 408(a). Here, the claims in the declaratory

   judgment action relate to the validity and infringement of the ’580 and ’982 patents. D.I. 1

   ¶¶ 44-59. Sheex did not offer Cocona’s statements to prove or disprove these claims, but to

   show lack of case or controversy. Cf. Nat’l Presort v. Bowe Bell + Howell Co., 663 F. Supp. 2d

   505, 508 (N.D. Tex. 2009) (holding that Rule 408 does not bar evidence from settlement

   negotiations to establish the existence of a case or controversy). Sheex has done nothing to

   violate Rule 408.
                                        III.    CONCLUSION

          The Covenant eliminates any justiciable controversy between the parties. Cocona’s

   arguments that the Covenant cannot do so because it does not reach third parties, future products,

   or unissued patents, are groundless. Cocona’s objections to Sheex’s reliance on the statements of

   Cocona’s CEO regarding Cocona’s business are similarly baseless. Because this Court does not

   retain subject matter jurisdiction over Cocona’s claims, Sheex respectfully requests that this

   Court enter an Order dismissing this case with prejudice.



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   DATED: June 4, 2015                      Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on June 4, 2015, I electronically filed the above document using the

   Court’s CM/ECF system, which served copies of the above document upon the attorneys of

   record in this matter.



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